                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                 SOUTHERN DIVISION

BRIAN QUAINE,                                 )
                                              )
       Plaintiff,                             )
                                              )       No.    7:10-cv-239
       vs.                                    )
                                              )
THE STEVENS-LLOYD GROUP, INC.,                )       JURY DEMAND ENDORSED HEREON
                                              )
       Defendant.                             )


                                          COMPLAINT

       NOW COMES the Plaintiff, BRIAN QUAINE, by and through his attorney, M.

LYNETTE HARTSELL, and for his Complaint against the Defendant, THE STEVENS-LLOYD

GROUP, INC., Plaintiff alleges and states as follows:

                                PRELIMINARY STATEMENT

       1.       This is an action for actual and statutory damages for violations of the Fair Debt

Collection Practices Act (hereinafter the “FDCPA”), 15 U.S.C. § 1692, et seq., and the North

Carolina Prohibited Practices by Collection Agencies Engaged in the Collection of Debts from

Consumers Statute, N.C. Gen. Stat. § 58-70-90, et seq.

                                JURISDICTION AND VENUE

       2.       Jurisdiction arises under the FDCPA, 15 U.S.C. § 1692, et seq. Venue lies

properly in this district pursuant to 28 U.S.C. § 1391(b), as a substantial part of the events and

omissions giving rise to the claim occurred within this District.

                                            PARTIES

       3.       Plaintiff is an individual who was at all relevant times residing in Wilmington,

North Carolina.




             Case 7:10-cv-00239-BO Document 1 Filed 11/29/10 Page 1 of 6
        4.      Plaintiff is a “consumer” as defined in 15 U.S.C. § 1692a(3) and N.C. Gen. Stat. §

58-70-90(2), as he is a natural person allegedly obligated to pay a debt.

        5.      At all relevant times, Defendant acted as a “debt collector” within the meaning of

15 U.S.C. § 1692a(6) and as a “collection agency” within the meaning of N.C. Gen. Stat. § 58-

70-90(1), in that it held itself out to be a company collecting a consumer debt allegedly owed by

Plaintiff.

        6.      On information and belief, Defendant is a corporation of the State of Arizona,

which is not licensed to do business in North Carolina and which has its principal place of

business in Tucson, Arizona.

                                             COUNT I

                       (Violation of the Fair Debt Collection Practices Act)

        7.      On or about June 13, 2010, Defendant’s representatives and/or employees,

including, but not limited to individuals who represented themselves as Josie Alcantar and John

Clark, began contacting Plaintiff by telephone in attempts to collect the aforementioned alleged

debt.   However, Defendant’s representatives and/or employees failed to identify that the

communication was from a debt collector during the course of every communication with

Plaintiff.

        8.      During at least one of the aforementioned telephone calls, Alcantar and/or Clark

threatened to file a lawsuit against Plaintiff and also to garnish his wages and place a lien on his

property, despite the fact that Defendant has no standing to take such action, and further, has

never initiated legal proceedings against Plaintiff.




                                        2
             Case 7:10-cv-00239-BO Document 1 Filed 11/29/10 Page 2 of 6
       9.       Further, the above-described threats of legal action were made during Defendant’s

first contact with Plaintiff and therefore overshadowed and/or were inconsistent with Plaintiff’s

right to request validation of the alleged debt pursuant to 15 U.S.C. § 1692g.

       10.      Moreover, Defendant’s representatives and/or employees falsely represented the

amount of the alleged debt by demanding payment of a portion that Plaintiff had already paid.

       11.      Defendant also failed to provide the notice to Plaintiff required by 15 U.S.C. §

1692g(a).

       12.      In its attempts to collect the aforementioned alleged debt, Defendant violated the

FDCPA in one or more of the following ways:

                a.     Failing to provide the notice to Plaintiff which is required by 15 U.S.C. §

                       1692g(a);

                b.     Participating in collection activities which overshadowed and/or were

                       inconsistent with Plaintiff’s right to dispute the debt or to request the name

                       and address of the original creditor, in violation of 15 U.S.C. § 1692g(b);

                c.     Threatening to take action that could not legally be taken and/or that was

                       not intended to be taken, in violation of 15 U.S.C. § 1692e(5);

                d.     Representing or implying that nonpayment of the alleged debt would

                       result in the seizure, garnishment, attachment and/or sale of Plaintiff’s

                       property or wages where such action was unlawful and/or Defendant did

                       not intend to take such action, in violation of 15 U.S.C. § 1692e(4);

                e.     Failing to disclose in every communication with Plaintiff that the

                       communication was from a debt collector, in violation of 15 U.S.C. §

                       1692e(11);




                                        3
             Case 7:10-cv-00239-BO Document 1 Filed 11/29/10 Page 3 of 6
                f.       Falsely representing the character, amount and/or legal status of the debt,

                         in violation of 15 U.S.C. § 1692e(2)(A); and

                g.       By acting in an otherwise deceptive, unfair and unconscionable manner

                         and failing to comply with the FDCPA.

       13.      As a result of Defendant’s violations as aforesaid, Plaintiff has suffered and

continues to suffer personal humiliation, embarrassment, mental anguish and emotional distress.

       WHEREFORE, Plaintiff, BRIAN QUAINE, respectfully prays for a judgment against

Defendant as follows:

                a.       Statutory damages of $1,000.00 for each violation of the FDCPA;

                b.       All reasonable attorneys’ fees, witness fees, court costs and other litigation

                         costs incurred by Plaintiff; and

                c.       Any other relief deemed appropriate by this Honorable Court.

                                              COUNT II

          (Violation of the North Carolina Prohibited Practices by Collection Agencies

                     Engaged in the Collection of Debts from Consumers Statute)

       14.      Plaintiff hereby adopts, re-alleges and incorporates by reference all allegations set

forth above as though fully rewritten here.

       15.      In its attempts to collect the aforementioned alleged debt, Defendant violated the

North Carolina Prohibited Practices by Collection Agencies Engaged in the Collection of Debts

from Consumers Statute in one or more of the following ways:

                a.       Threatening to take action that could not legally be taken and/or that was

                         not intended to be taken, in violation of N.C. Gen. Stat. § 58-70-95(7) and

                         (8);




                                        4
             Case 7:10-cv-00239-BO Document 1 Filed 11/29/10 Page 4 of 6
                b.      Representing or implying that nonpayment of the alleged debt would

                        result in the seizure, garnishment, attachment and/or sale of our Plaintiff’s

                        property or wages where such action was unlawful and/or Defendant did

                        not intend to take such action, in violation of N.C. Gen. Stat. § 58-70-

                        95(5) and (6);

                c.      Failing to disclose in every communication with Plaintiff that the

                        communication was from a debt collector, in violation of N.C. Gen. Stat. §

                        58-70-110(2);

                d.      Falsely representing the character, amount and/or legal status of the debt,

                        in violation of N.C. Gen. Stat. § 58-70-110(4); and

                e.      By acting in an otherwise deceptive, unfair and unconscionable manner

                        and failing to comply with North Carolina law.

       16.      As a result of Defendant’s violations as aforesaid, Plaintiff has suffered and

continues to suffer personal humiliation, embarrassment, mental anguish and emotional distress.

       WHEREFORE, Plaintiff, BRIAN QUAINE, respectfully prays for a judgment against

Defendant as follows:

                a.      Statutory damages of $4,000.00 for each violation of the North Carolina

                        Prohibited Practices by Collection Agencies Engaged in the Collection of

                        Debts from Consumers Statute;

                b.      All reasonable attorneys’ fees, witness fees, court costs and other litigation

                        costs incurred by Plaintiff; and

                c.      Any other relief deemed appropriate by this Honorable Court.




                                        5
             Case 7:10-cv-00239-BO Document 1 Filed 11/29/10 Page 5 of 6
                                        JURY DEMAND

       Pursuant to Civil Rule 38, Plaintiff hereby demands a trial by jury on all issues in this

action, except for any issues relating to the amount of attorneys’ fees and litigation costs to be

awarded should Plaintiff prevail on any of his claims in this action.



                                                      Respectfully Submitted,

                                                      /s/ M. Lynette Hartsell
                                                      M. Lynette Hartsell (9845)
                                                      Attorney for Plaintiff
                                                      1010 Lakeview Drive
                                                      Cedar Grove, NC 27231
                                                      (888) 493-0770, ext. 305 (phone)
                                                      (866) 551-7791 fax
                                                      Lynette@LuxenburgLevin.com




                                      6
           Case 7:10-cv-00239-BO Document 1 Filed 11/29/10 Page 6 of 6
